            Case 4:20-cv-05010-EFS                  ECF No. 20           filed 10/05/20    PageID.621 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_                                              FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                     Eastern District of Washington                           EASTERN DISTRICT OF WASHINGTON


                          ALEXIS V.,
                                                                                                               Oct 05, 2020
                                                                     )                                             SEAN F. MCAVOY, CLERK
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 4:20-CV-5010-EFS
          ANDREW M. SAUL, the Commissioner                           )
                 of Social Security,                                 )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment (ECF No. 16) is GRANTED. The Commissioner’s Motion for Summary
’
              Judgment (ECF No. 17) is DENIED. JUDGMENT is entered in favor of Plaintiff REVERSING and REMANDING the
              matter to the Commissioner of Social Security for further proceedings pursuant to sentence four of 42 U.S.C. § 405(g).



This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge               Edward F. Shea                                                on motions for
      Summary Judgment (ECF Nos. 16 and 17).


Date: 10/5/2020                                                              CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Lennie Rasmussen
                                                                                          (By) Deputy Clerk

                                                                             Lennie Rasmussen
